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                  EXHIBIT B
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Villarreal, Noemi

From:               Fax2Mail Powered by OpenText <reports@reply.fax2mail.com>
Sent:               Tuesday, December 8, 2020 5:26 PM
To:                 Villarreal, Noemi
Subject:            Whites Landing Fisheries, Inc. v. Eddie C. Towles - Case No. CVF 200150



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                                       MAIL2FAX DETAILED DELIVERY REPORT
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Subject                             Whites Landing Fisheries, Inc. v. Eddie C. Towles ‐ Case No. CVF 200150
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                       SUMMARY
      Sent: 1           Errors: 0          Cancelled: 0
      Total: 1



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4196275916                                     SENT               12/08             16:25                           1




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                                     IN THE MUNICIPAL COURT
                                         SANDUSKY, OHIO

WHITES LANDING FISHERIES, INC.,                    )    CASE NO. CVF 200150
                                                   )
                        Plaintiff,                 )    JUDGE ERICH J. O’BRIEN
                                                   )
         vs.                                       )
                                                   )    DEFENDANT EDDIE C. TOWLES’
                                                   )    ANSWER TO PLAINTIFF’S
                                                   )    COMPLAINT, AFFIRMATIVE
EDDIE C. TOWLES,                                   )    DEFENSES, AND COUNTERCLAIM
                                                   )
                        Defendant.                 )    JURY DEMAND ENDORSED HEREON
                                                   )

         NOW COMES Defendant Eddie C. Towles, by and through the undersigned counsel, and

in answer to Plaintiff’s Complaint states as follows:

                                          FIRST COUNT
                                           (Negligence)

         1.     Defendant neither admits nor denies for want of sufficient information and belief,

and leaves Plaintiffs to its proofs.

         2.     Defendant admits only the described ownership and that he was operating on the

waters of Lake Erie but affirmatively denies he operated the vessel in the location alleged as

“within one half mile off the shore” as the allegation is false and untrue.

         3.     Defendant agrees only that Plaintiff set trap nets in the waters of Lake Erie but

denies that the nets were legally positioned and marked at the time of the loss.

         4.     Defendant denies any alleged failures or negligence as untrue and affirmatively

states that Plaintiff’s nets constituted an illegal obstruction to navigation of Federal Waters at the

time and place of the subject incident and caused Defendant’s engine to become entangled and




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damaged by Plaintiff’s illegal nets which were obstructions to navigation.

         5.    Defendant denies any alleged failures or negligence as untrue and affirmatively

states that Plaintiff’s nets constituted an illegal obstruction to navigation of Federal Waters at the

time and place of the subject incident and caused Defendant’s engine to become entangled and

damaged by Plaintiff’s illegal nets which were obstructions to navigation.

         6.    Defendant denies any alleged failures or negligence as untrue and affirmatively

states that Plaintiff’s nets constituted an illegal obstruction to navigation of Federal Waters at the

time and place of the subject incident and caused Defendant’s engine to become entangled and

damaged by Plaintiff’s illegal nets which were obstructions to navigation.

         7.    Defendant denies any alleged failures or negligence as untrue and affirmatively

states that Plaintiff’s nets constituted an illegal obstruction to navigation of Federal Waters at the

time and place of the subject incident and caused Defendant’s engine to become entangled and

damaged by Plaintiff’s illegal nets which were obstructions to navigation.

         8.    Defendant neither admits nor denies the amount or alleged damages for want of

sufficient information and belief, and leaves Plaintiffs to its proofs. Defendant further answers that

it denies liability for any amount of damages.

                                        SECOND COUNT
                                        (Negligence per se)

         9.    Defendant adopts and restates the answers of paragraphs 1-8 as if set forth in full.

         10.   Defendant denies the allegations set forth in Paragraph 10 of the Complaint.

         11.   Defendant denies the allegations set forth in Paragraph 11 of the Complaint.

         WHEREFORE, Defendant Eddie C. Towles prays that all claims against him be dismissed

with prejudice and that costs and reasonable attorney fees be awarded in his favor.



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                                   AFFIRMATIVE DEFENSES



          1.    Plaintiff failed to properly place, mark, maintain, and timely inspect their fishing

nets in violation of applicable State, Local, Federal and/ or other applicable rules, instructions,

mandates or practices including violation of the terms and conditions of any permits limiting its

right to place and maintain any fishing nets in the described public federal waters of the United

States.

          2.    Plaintiff’s above described violations impose a presumption of fault and causation

against Plaintiffs within the meaning of The Pennsylvania Rule.

          3.    Plaintiff’s acts and described violations created an illegal obstruction to navigation

of Federal public waters which obstruction was the sole legal cause of the incident alleged.

          4.    The incident at hand was caused by an Act of God or Force Majeure.

          5.    To the extent any act of Defendant constituted an error or negligence of judgment,

none being admitted here, then such acts are legally excused as an error in extremis.

          6.    Plaintiff has failed to mitigate claimed damages, if any.

          7.    To the extent Plaintiff’s damages include such expenses which are paid or were

payable, in whole or in part by a collateral source, such payment must be deducted from any

judgment.

          8.    Plaintiff may lack right, title, standing or interest in some or all of the claims made.

          9.    Defendant reserves the right to add other Affirmative Defenses as they are

discovered and now therefore incorporates said Affirmative Defenses yet to be discovered as

though fully set forth herein.




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                                          COUNTERCLAIM



         NOW COMES Defendant/ Counter Plaintiff Eddie C. Towles by and through his

undersigned counsel, and hereby files this Counterclaim as follows:

    1. On or about June 21, 2020 Mr. Towles was lawfully operating his boat with family aboard

on the waters of Lake Erie approximately one mile north of shore.

    2. At that time, suddenly and without warning or foreseeability the boat’s engine became

entangled in a rope fishing net hidden in the waters, causing loss of ability to navigate while in the

midst of a sudden storm and high seas and winds causing peril to his family and friends and to his

boat.

    3. At great risk to himself, Mr. Towles entered the high seas to free his engine of the rope

entanglement and regain some compromised vessel navigability and avoid further peril to himself,

his family and friends and to his boat.

    4. According to Plaintiff/ Counter Defendant’s Complaint, they are the owner of the subject

rope fishing net causing the described incident.

    5. At the time and place described Counter Defendant negligently failed to properly place,

mark, secure and or maintain its fishing net as required by applicable State, Local, and / or Federal

Statutes and/ or other applicable rules, instructions, mandates or practices including violation of

the terms and conditions of any permits limiting its right to place and maintain fishing nets in the

described public federal waters of the United States.




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    6. Counter Defendant’s violations of the law and acts of negligence as described impose

negligence per se as statutory violations, including without limitation, imposition of The

Pennsylvania Rule against Counter Defendant.

    7. Counter Defendant’s acts of negligence and failures as described were willful and wanton

and grossly negligent.

    8. As a result of Counter Defendant’s acts of negligence and failures as described, Mr. Towles

was caused to suffer damages including necessary repairs to his boat’s engine in the amount not

less than Two Thousand Three and Fifty Dollars ($2,350.00); the loss of use of his boat from the

date of the incident until such time as the required repairs could be accomplished.

         WHEREFORE, Counter Plaintiff Eddie C. Towles prays for judgement against Counter

Defendant Whites Landing Fisheries, Inc., in an amount of not less than Two Thousand Three and

Fifty Dollars ($2,350.00) for boat engine repairs or such greater amount as may be proven; loss of

use of the vessel and punitive damages in a total claim amount of at least $50,000 or such greater

amount as may be proven and awarded by the trier of fact in this case as well as costs, interest and

attorney fees.

                                          Respectfully submitted,

                                          s/ Kelly E. Mulrane
                                          Kelly E. Mulrane (0088133)
                                          Benesch, Friedlander, Coplan & Aronoff LLP
                                          41 South High Street, Suite 2600
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                                          Phone: 614-223-9318

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                                     Phone: 248-539-9900

                                     Attorneys for Defendant Eddie C. Towels




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                                  DEMAND FOR JURY TRIAL

         Eddie C. Towles hereby demands a trial by jury of all claims in this matter.


                                           s/ Kelly E. Mulrane
                                           Kelly E. Mulrane (0088133)
                                           Benesch, Friedlander, Coplan & Aronoff LLP
                                           41 South High Street, Suite 2600
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                                           Attorneys for Defendant Eddie C. Towels




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                              CERTIFICATE OF SERVICE

         I hereby certify that on December 8, 2020, a copy of Defendant Eddie C. Towles’ Answer

to Plaintiff’s Complaint, Affirmative Defenses, and Counterclaim was filed via facsimile. A true

and correct copy was sent via regular U.S. Mail to:

William H. Smith, Jr. (#0003964)
Smith & Lehrer Co., L.P.A.
Attorneys for Plaintiff
308 West Adams Street
Sandusky, OH 44870
Phone: 419-625-3672
Fax: 419-625-3674

Counsel for Plaintiff




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